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               EXHIBIT "C"
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          March 3, 2024

          Thomas F. Sacchetta Esq.
          Sacchetta and BaldinoTial lawyers
          308 E. 2nd St.
          Media PA 19063

          Re: Bethany Ditzler, DOB

          Dear Mr. Sacchetta:

          Since the production of my expert report of December 29, 2023,1 have received
          numerous documentsexpressing medical opinions and life care plans concerning
          Bethany Ditzler. These records include the following:

          Expert report of Robert Dein, M.D., Obstetrician Gynecologist.
          Expert report of Dr. Robert Gherman, M.D., Obstetrician and Gynecologist
          Expert report of Jay Goldberg, M.D., Obstetrician Gynecologist
          Expert report of Joseph Ouzounian, M.D., Obstetrician Gynecologist
          Expert report of Walter Molofsky, M.D., Pediatric Neurologist
          Expert report of Dr. Scott Kozin, M.D., Pediatric Orthopedic Surgeon
          Expert report of Dr Joshua Abzug, M.D., Orthopedic Surgeon
          Life care plan for Bethany Ditzler from R.N. Valerie Parisi
          Lifecare plan for Bethany Ditzler from Forensic Resolutions Inc.


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    Life care plan for Bethany Ditzler from Jennifer Cantor, MD, Empiric Planners
    Lifecare

After reviewing the expert reports of the above physicians, I find it necessary to
respond to several of the opinions expressed with which I disagree and/or were
critical of opinions I expressed in my report.

All opinions expressed in my report were to a reasonable degree of medical
certainty and reflected the factual information available from the medical records
that I reviewed; the deposition testimony of both Dr. Hall-Ndlovu and Dr. Blecher;
as well as the sworn deposition testimony of Bethany's mother, father and aunt
who attended and witnessed the delivery of Bethany on

Upon review of my expert report, I misstated the height of Bethany Ditzler's
mother Cami Furjanic as 5'10" tall when in fact the medical record says that she
was 5'0" tall. At 240 pounds on admission this gave her a BMI of 47 which is
morbidly obese, a recognized risk factor for fetal macrosomia/large for
gestational age fetus at increased risk for both shoulder dystocia with or without
a brachial plexus injury as well increased need for cesarean section delivery.

I disagree with the general opinion of all of the OB/GYN defense experts that
prenatal risk factors for shoulder dystocia are of little or no value in the
management of the patient's labor and delivery since they will not in every case
predict which patient will develop a shoulder dystocia. In this case, Cami
Furjamica, was a morbidly obese woman at term who last delivered 6 lbs. 15 oz.
male child 12 years prior to this labor. Bethany was 35% larger by birthweight
than her brother. Bethany was both large for gestational age fetus, being closer to
the 95th percentile for weight, and macrosomic. An obstetrical ultrasound was
planned for the clinic visit the day before admission but not performed due to
apparent staffing problems. The obstetrical plan in place was for medical
induction for a suspected large for gestational age fetus and routinely an
ultrasound is required for an estimated fetal weight prior to the initiation of that
medical induction.

It is my opinion that had that ultrasound study been performed by a Registered
Diagnostic Ultrasound Technologist that the estimated fetal weight would have
been 4300 g- plus or -10% (Chauhan 2005). Van Der Looven (2019) in a study of


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 29 million live births reported that the most prevalent, significant risk factors for
 neonatal brachial plexus injury were shoulder dystocia (OR 115) and fetal
 macrosomia (OR 9.75). With the multiple risk factors present at the time of
 admission to labor and delivery it is my opinion, to a reasonable degree of
 medical certainty, that a careful and informed discussion should have been made
with Cami Furjanic providing her with information that was known at the time
concerning multiple risk factors that she had for having a delivery complicated by
a shoulder dystocia and/or the need in labor for cesarean section. The maternal
input as to how her labor was to be managed was as important in 2001 as is in
2024. No mother wants to put her unborn fetus at significant risk of harm without
adequate informed consent. Again, Van Der Looven (2019) as well as multiple
publications from ACOG reported that cesarean section appears as a protective
factor from a neonatal brachial plexus palsy with an OR= 0.3.

 Dr. Gherman (1998) in an article entitled Shoulder Dystocia stated that "shoulder
dystocia is strongly correlated with the triad of fetal macrosomia, maternal
diabetes, and maternal obesity. Macrosomia is arbitrarily defined as a birth
weight of more than 4000 g or an estimated fetal weight of more than 90th
percentile for the probable gestational age. Repeated studies have shown that
infants weighing more than 4000 g or at a statistically increased risk for Shoulder
Dystocia. Specifically weights between 4000 and 4500 gm have a 7 to 10% chance
of shoulder dystocia. "It goes on to note that in the presence of fetal macrosomia
an infant will have a large abdominal or chest circumference that is larger than
the fetal head." Several studies have used obstetrical ultrasound to predict fetal
macrosomia with an abdominal circumference greater than 35 cm or more. It will
predict 93% of macrosomia fetuses Jazayeri 1999) Bethany had a chest
circumference of 36 cm consistent with this finding and putting her at further risk
of a shoulder dystocia.

It is also my opinion, to a reasonable degree of medical certainty that the majority
of brachial plexus injuries are associated with a shoulder dystocia event. It is
generally accepted that there may be in utero events or factors which may lead to
the neonatal brachial plexus injury such as fetal malposition, viral infections,
uterine fibroids or other structural abnormalities of the uterus or even the natural
forces of labor. In a well-designed study by Gurewitch (2006) titled "Risk factors
for brachial plexus injury with and without shoulder dystocia it was reported that
non-shoulder dystocia brachial plexus injury is uncommon and was found in


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infants of average weight, having a cord pH less than 7.10 and commonly exhibit a
trend towards posterior shoulder involvement. They report that this is likely a
distinct mechanism from fetuses born with a shoulder dystocia associated
brachial plexus injury. Nearly all non-shoulder dystocia brachial plexus injuries
were temporary, whereas more than 90% of permanent brachial plexus injuries
were associated with a shoulder dystocia (OR 17). A shoulder dystocia related
brachial plexus injury correlated positively with fetal macrosomia (OR 6.97),
negatively with fetal acidosis and positively with anterior shoulder involvement.

As to the comment made by the defense experts that brachial plexus injuries have
been reported frequently to have been associated with a cesarean delivery,
Alexander (2006) performed a prospective cohort study of all cesarean deliveries
conducted at 13 University centers between January 1,1999, to December 31,
2000. They reported nine brachial plexus injuries out of 37,110 Cesarean section
deliveries for an incidence of 0.2 per 1000. This data certainly suggests that not
only is Cesarean section protective against a brachial plexus injury, but a brachial
plexus injury is extremely rare and may well and been a consequence of
obstetrical maneuvers attempted prior to the C-section or at the time of elevating
the anterior shoulder when the fetal head is deeply impacted in the pelvis after
prolonged labor.

Comments concerning the expert report of Dr. Robert Dein: I disagree with Dr.
Dein as to whether there was an uncomplicated delivery in 1989 since there does
not appear to be prenatal records that we were able to review. He is also
incorrect that the mother's BMI was 35 when in fact she was morbidly obese with
a BMI of 47. The estimated fetal weight of approximately 8 pounds at the time of
admission appears to have been done by the family practice fellow Dr. Blecher on
the Obstetrical service one month after his family practice residency training. I
agree with Dr. Dein that this patient had an uncomplicated first and second stage
of labor with an epidural and that she likely spontaneously delivered the fetal
head. This is strong evidence that the fetal shoulder at no time "were hung up" on
the sacral promontory and had no delay in descent through the bony pelvis. He
ignores the presence of a "turtle sign" described by those at the delivery, an
event consistent with a shoulder dystocia. He also agrees based upon the family
depositions that the delivery was initially begun by Dr. Blecher who was both
undertrained, under supervised and had only been in this training program for
one month. Dr. Blecher could not accomplish the delivery and the attending Dr.


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   Hall had to be called to the bedside after some uncertain time. There are no
   delivery notes explaining what he did to try to facilitate this delivery other than
   downward traction on the fetal head as described by the family members in
  attendance at the delivery. It is likely as has been demonstrated in previous
  articles that family practice physicians pull harder and with more force and rapidly
  than trained obstetricians putting any baby at increased risk for brachial plexus
  injury in the presence of a shoulder dystocia (Deering 2011). I disagree with Dr.
  Dein's opinion about the value of risk factors of predicting fetal macrosomia in
  this case as well as when to discuss with a patient and have her involved in her
  own care as to the benefits of a trial of labor versus a prophylactic cesarean
  section. I continued to disagree with him as in the need for an attending to be
  present at this delivery at all times when Dr. Blecher attempted the delivery. Dr.
  Hall had a duty and obligation to be there and supervised this trainee on the
  service for only one month. Had she been there the entire time she should have
 supervised his efforts, and in the presence of a shoulder dystocia event,
 immediately initiated an organized plan of care to minimize the chance of harm to
 the baby. There is no record of any maneuvers done in this case short of an
 episiotomy performed only when Dr. Hall presented to the patient. As to his
 theory of in utero brachial plexus injury in response to the forces of labor. I am
 unable to find a single article regarding a shoulder dystocia or brachial plexus
 injury that was either prevented or predicted based upon this theory commonly
 purported by the obstetricians who offer reports in this case. It is well accepted
that forceful downward traction applied to the head after the fetal third rotation
represents an important risk factor for obstetric brachial plexus palsy vaginal
deliveries in the cephalic presentation (Mollberg 2007). It is shown by Allen (2007)
that by itself, shoulder dystocia does not pose additional risks of brachial plexus
stretch over routine deliveries. No EMG studies were done in this case, so it is
impossible to assert that this was an in-utero injury without scientific evidence.
Finally, because there is no evidence of fetal hypoxia or fetal acidemia present in
the medical record is highly unlikely that any "constellation of forces" were acting
independently on this fetus during the labor and delivery process in a negative
manner.

Comments concerning the expert report of Dr. Robert Gherman: I have addressed
Dr. Gherman's comments concerning the need to discuss a trial of labor versus a
C-section based upon the multiple risk factors that were known here in my
introduction. I also addressed the fact that in the absence of a detailed operative


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 delivery note by either the attending Dr. Hall or by the family practice resident Dr.
 Blecher we must rely upon the sworn testimony of the family members who were
 there along with Cami Furjanic as to what the events were that occurred at the
 time of this delivery. In my opinion, their description of the delivery process is
consistent with a shoulder dystocia event having occurred and attempt to deliver
the baby using downward traction sufficient to cause permanent brachial plexus
 injury to the baby. The family does not recall the application of either the
 McRoberts maneuver or suprapubic pressure being applied or the patient being
told to stop pushing. This is all consistent with an initial delivery attempt when an
undertrained, under supervised family practice resident prior to the summoning
of this attendant physician Dr. Hall to the bedside. In an unsupervised situation,
an inexperienced operator in addition to downward forceful traction on the fetal
 head is likely to perform twisting an extension of the fetal head. The certainly
should be avoided during labor and delivery and is listed by Sandmire (2008) as a
contributing factor to the labor forces and a cause of a brachial plexus injury.
Finally, I disagree with Dr. Gehrman's conclusion that deposition testimony by the
family present at the time of this delivery should not be depended upon when
judging the standard of care provided by Dr. Hall and Dr. Blecher. There is no
stronger evidence in this case than the deposition testimony of those at the
delivery, especially in the absence of any medical records.

Comments concerning the expert report of Dr. Jay Goldberg: it is well-known that
shoulder dystocia events have been reported to be underdiagnosed and
underreported. With potentially a disagreement on the definition of shoulder
dystocia, failure to recognize a shoulder dystocia event or a frank attempt to
avoid reporting a medical incident I do agree that a shoulder dystocia event was
not documented in this case. However, in the nursery evaluation of baby Bethany
Ditzler Dr. Lippe, a consultant orthopedist, does note "apparently large shoulders"
This would be consistent with both a 9 1/z pound baby and a poorly reported
shoulder dystocia event. This terminology has been used in literature to try to
minimize the presence of shoulder dystocia having occurred. I agree with Dr.
Goldberg that a C-section was not mandated in this case but rather maternal
involvement in the decision for trial of labor with the recognized risk factors
certainly should have occurred to comply with the standard of care. I disagree
with Dr. Goldberg strongly about the validity of his opinion concerning a family
practice fellow in his first month of training being qualified to safely perform this
or any delivery without an attending supervising in the delivery room throughout


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the entire delivery. I disagree with the 9% incidence of brachial plexus injuries
occurring at the time of Cesarean sections as reported in an article cited by Dr.
Goldberg. Alexander (2006) refutes this clearly. Again, I disagree with Dr.
Goldberg's dependence upon the theory of endogenous forces of labor causing
the brachial plexus injury in this case because of the lack of scientific evidence
surrounding this theory offered because it lacks any ability to predict or prevent a
shoulder dystocia event and newborn harm. Ultimately Dr. Hall needed to be
present during his delivery to provided expertise and guidance and prevented a
permanent brachial plexus injury to this child from the hands of an untrained
physician who had never seen a shoulder dystocia emergency before!

Comments concerning the expert report of Dr. Joseph Ouzounian: Several of Dr.
Ouzounian's comments of already been addressed in the prior comment sections.
I clearly stated why I disagree with the fact that more likely than not excessive
downward traction with or without twisting and extension of the fetal head
occurred in this case. The sworn deposition of those present at the time of the
delivery, and absent any other medical records to invalidate their testimony,
strongly suggests that excessive traction likely off axis was performed by Dr.
Blecher prior to the appearance of Dr. Hall, his attending physician. Additionally, I
disagree with the theory offered that this was an in-utero injury resulting from
fetal malposition and impaction posteriorly of the baby's shoulders on the sacral
promontory. In the previously cited article by Gurewitch (2006) a transient injury
certainly may be associated with the non-shoulder dystocia brachial plexus injury
in a smaller baby, with a low pH and involving the posterior shoulder. None of
these factors were present in this case making his theory invalid.

Comments concerning the expert report of Dr. Walter Molofsky: Dr. Molofsky is a
Pediatric Neurologist who examined Bethany Ditzler. He is of the opinion that
brachial plexus injuries are the result of net vector forces acting on the brachial
plexus during labor resulting in stretch of the brachial plexus. He believes that
contribution by the obstetrician can be minimal to nonexistent even with
permanent injury. I strongly disagree with this opinion based upon my testimony
throughout this report. He does not understand the concept of a prophylactic
cesarean section markedly reducing the risk of a shoulder dystocia and brachial
plexus injury occurring. He does not understand that the implementation of
training programs throughout the Western World has significantly decreased the
incidence of brachial plexus injuries through early recognition of a shoulder


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dystocia event early initiation of maneuvers to relieve that shoulder dystocia
event and the dictum of avoiding downward traction with twisting the head or
extending the fetal head. He does not accept the concept that risk factors should
help obstetricians in their management of patients at risk of a shoulder dystocia
event. Lastly, he has no understanding of the concept of an underreported
underrecognized shoulder dystocia event that does not obviate the presence of
the shoulder dystocia event having occurred. He does "not accept any
questionable testimony given by lay people" regarding the routine use of traction
in the delivery that they personally witness and for which there are no medical
records to better explain the events of the injury that occurred here.

I did review the reports of the two Orthopedists and noted that Dr. Scott Kozin
noted in his September 1, 2004, office visit with Bethany that" mom had some
trouble delivering her. She was told immediately that Bethany had a brachial
plexus injury". The remainder of the two orthopedic reports are completely
consistent with my understanding of the findings, her prognosis, and her
limitations at present.

It is my opinion that neither a senior OB/GYN resident in training nor a family
practice fellow in training should have been given the primary responsibility to
attempt this delivery without the full-time presence of their supervising
obstetrician. If Dr. Hall-Ndlovu, the supervising obstetrician of the residents and
family practice fellows in the morning of August 17, 2001, permitted either of
these physicians in training to attempt delivery of Ms. Furjanic's fetus without her
direct supervision it would be a breach of the standard of care putting both
mother and baby at increased risk of harm. If instead Dr. Hall-Ndlovu was present
for the entire time of this delivery, she then breached the standard of care by
permitting her trainees or by her own direct care by applying excessive downward
traction on the fetal head, applying off axial forces to relieve the should dystocia,
performing excessive rotation of the fetal head or any combination of the above
maneuvers causing a permanent brachial plexus injury to baby Bethany Ditzler.

It is my opinion that Lee Blecher, who was a resident also breached the standard
of care. He regularly attended to Baby Bethany. His attempt to deliver the Baby
was a breach. The pulling of the baby and bracing his feet on the bed are a breach
of the standard of care. Furthermore, his attempt to deliver given circumstances
without attending physician present was a breach of the standard of care.


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The Defendant hospitals breached the standard of care by failing to oversee the
defendant Doctors patient care and they breached the standard of care by failing
to formulate, adopt and enforce rules and policies to ensure quality care to
patient Baby Bethany as set forth herein, including allow a family practice
resident to attempt delivery without supervision.

All of my opinions are held to a reasonable degree of medical certainty. All
breached that I have set forth herein were a direct cause of harm and increased
risk of harm to Bethany Ditzler.

Thank you for the opportunity to respond to these recently received expert
reports. I reserve the right to review any other reports or medical records that are
received and to issue an updated supplementary report if any of my opinions of
changed.

Very truly yours,

                                     5.                         a
Lawrence S Borowv MD

References:

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